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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
        Plaintiff,                                  )
                                                    )           04 CR 778
v.                                                  )           Judge Virginia M. Kendall
                                                    )
WILLIAM KURCZODYNA                                  )
                                                    )
        Defendant.                                  )

                            DEFENDANT’S MOTION TO STAY
                       RESTITUTION ENFORCEMENT PROCEEDINGS

        Defendant, William Kurczodyna, by and through his attorneys, the Law Office of Damon

M. Cheronis, pursuant to the Due Process and Effective Assistance of Counsel Provisions of the

Fifth and Sixth Amendments to the United States Constitution, 28 U.S.C. § 3013, and other

authority cited herein, respectfully requests the Court enter an order staying or limiting further

restitution enforcement proceedings based on undue hardship.

        In support of this motion, Mr. Kurczodyna, through counsel, submits the following1:

I.      Background

        1.      On August 21, 2004, Mr. Kurczodyna was charged along with 21 other co-defendants

with various counts of fraud, including mail fraud in violation of 18 U.S.C. § 1341, for his role in

a fraud scheme centered on submitting false and fraudulent auto insurance claims related to Auto

City Rebuilders. Dkt. # 1.




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  Mr. Kurczodyna, through counsel, intends to supplement this motion with an affidavit supporting the
factual assertions contained herein.
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         2.     After pleading guilty, on April 9, 2007, Mr. Kurczodyna was sentenced to a term of

incarceration of a year and a day, three years of supervised release, and to pay a restitution amount

of $1,307,515.00. Dkt. # 443. The restitution order was imposed jointly and severally upon Mr.

Kurczodyna and certain co-defendants, and the schedule of payments required that Mr. Kurczodyna

pay 10% of his net monthly income until the judgment is satisfied. Dkt. # 443.

         3.     In order to satisfy the outstanding balance of $753,336.44, on November 19, 2018,

the government filed a motion for turnover order asking the Court to direct the third party’s holding

IRA accounts of Mr. Kurczodyna’s to turn over certain funds from those accounts to satisfy Mr.

Kurczodyna’s outstanding restitution obligation. Dkt. # 750.

         4.     On November 26, 2018, the Court entered an order granting the government’s

motion and the relief requested therein. Dkt. # 752.

         5.     That order was most recently stayed in order to allow Mr. Kurczodyna until February

14, 2019 to file a response, if any. Dkt. # 766.

         6.     For the reasons that follow, Mr. Kurczodyna, through counsel, now requests that the

Court enter an order staying further restitution enforcement proceedings based on undue hardship.

II.      Discussion

         7.     The Debt Collection Procedure Act, 28 U.S.C. § 3001 et seq., provides district court’s

with the equitable authority to grant a hardship waiver to further enforcement of restitution

obligations. Specifically, § 3013 provides:

         The court may at any time on its own initiative or the motion of any interested
         person, and after such notice as it may require, make an order denying, limiting,
         conditioning, regulating, extending, or modifying the use of any enforcement
         procedure under this chapter.




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        8.     Federal courts across the country have recognized that this statute vests the authority

in district judges “to shield defendants from efforts to collect restitution judgments if the collection

would cause unreasonable annoyance, expense, embarrassment, disadvantage or other prejudice.”

United States v. Sayyed, 186 F. Supp. 3d 879, 883 (N.D. Ill. 2016) (Feinerman, J.) (internal quotations

omitted); see also United States v. Ogburn, 499 F.Supp.2d 28, 30-32 (D.D.C. 2007); FTC v. Nat’l Bus.

Consultants, Inc., 376 F.3d 317, 321 (5th Cir. 2004); United States v. King, 2012 WL 1080298, *6

(E.D. Pa. 2012); United States v. Urso, 2009 WL 2999521, *5 (N.D. Tex. 2009); United States v.

Lawrence, 538 F. Supp. 2d 1188, 1195 (D.S.D. 2008); United States v. Mayes, 2007 WL 3001670, *1

(D.S.D. Oct. 10, 2007); United States v. Kaye, 93 F. Supp. 2d 196, 198-99 (D. Conn. 2000).

        9.     Nearly all of the concerns articulated above apply here. Through its most recent

motion for a turnover order, the government is seeking to liquidate various Fidelity Investment IRA

accounts belonging to Mr. Kurczodyna and his wife, Marcia, totaling $1,137,270, in order to satisfy

the remaining $ 753,336.44 of his $1,307,318.00 restitution obligation that was imposed jointly and

severally with a significant number of his former codefendants. See Dkt. # 443, 750.

        10.    Ever since his release from custody, Mr. Kurczodyna has struggled to find work,

carrying out various odd jobs in order to make ends meet. The goal for him and his family was always

to do whatever was necessary in order to make it to retirement. At that point, they could rely on

their savings and live out their elder years—not in any sort of luxury, but at least in comfort and

security.

        11.    Both Mr. Kurczodyna and his wife Marcia are getting to the point where retirement

is no longer an aspiration, but mandatory. Marcia, at 65, manages activities for an active senior living

community, and estimates that, at most, she will able to do so for another 3-5 years. Mr. Kurczodyna




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himself estimates that based on his skill set, his felony conviction, and his equally advancing age, his

employment prospects will dwindle in a similar time frame.

        12.      On that point, it is worth noting that for nearly a decade after his release, Bill was

forced to perform janitorial work, as there was no other available employment given his federal

felony conviction, and this demanding labor has taken a significant toll on him physically.

Specifically, Bill reports the physical labor since his release has had a significant detrimental effect

on his knees and his hips.

        13.      In any event, both Bill and Marcia are nearing retirement, and even if either could

hold on for longer than expected, it is unlikely that both could do so. But given their limited income,

and the need for both of their salaries, absent the security of their retirement accounts, their financial

situation is likely to prove ruinous.

        14.      There are also fairness concerns at issue here. Mr. Kurczodyna and counsel

understand the entire point of imposing restitution orders jointly and severally is to prioritize

making the victim whole at the expense of any undue harm to one of the wrongdoers themselves.

That said, we will respectfully note that there is nonetheless some level of injustice in satisfying this

joint restitution obligation through almost exclusively seizing funds belonging to Mr. Kurczodyna,

especially given his limited culpability in relation to others. See, e.g., Paroline v. United States, 134 S.Ct.

1710 (2014) (recognizing, inter alia, the lack of a cause of action for contribution for federal

restitution judgments); see also Dkt. # 468, Osinski Plea Agreement (admitting, inter alia, that he and

others faked automobile accidents “acting at his direction,” that he and his company would receive

the payments and pay out a portion to his co-schemers, and that Mr. Kurczodyna processed claims

for Osinski and was compensated at Osinski’s discretion). On this point, while counsel is not aware




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of the precise figures each defendant has contributed to date, counsel understands that a significant

majority of the restitution paid to date was satisfied by Mr. Kurczodyna, as opposed to any of his

codefendants. And again, this is all the more disconcerting given Mr. Kurczodyna’s relative

culpability in relation to many of his other codefendants.

       15.     Also with regard to fairness, it is worth noting that although the Kurczodyna’s

worked hard and invested throughout their lives to save this money, a significant portion of the

money was inherited by Marcia alone from her family, and but for her decision to commingle those

funds in a joint IRA, would have been unreachable by the government. See United States v. Novak,

476 F.3d 1041, 1063-64 (9th Cir. 2007); United States v. Whalen, 459 F. Supp. 2d 800, 818 (E.D.

Wis. 2006). Marcia, of course, had no involvement in this case aside from the fact that her spouse

was charged amongst the 22 individuals charged with participating in the instant scheme.

       16.     Alternatively, it logically follows that if the Court has the power to effectively halt

enforcement proceedings entirely, it could choose to limit them--§ 3013 does in fact use the phrase

“limiting, conditioning, regulating, extending, or modifying the use of any enforcement procedure

under this chapter.” As such, Mr. Kurczodyna, through counsel, would respectfully ask the Court to

consider limiting the enforcement manner, in any appropriate manner.

III.   Conclusion

       17.     Based on the foregoing, Mr. Kurczodyna, through counsel, respectfully requests that

the Court enter an order staying further restitution enforcement proceedings based on undue

hardship.




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                                             Respectfully submitted,


                                             /s/ Damon M. Cheronis
                                             Damon M. Cheronis

                                             /s/Ryan J. Levitt
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                                  CERTIFICATE OF SERVICE

I, Damon M. Cheronis, hereby certify that on February 14, 2019, I electronically filed the foregoing
Motion to Stay Enforcement Proceedings with the Clerk of the U.S. District Court for the
Northern District of Illinois, Eastern Division, by using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be accomplished by the
CM/ECF system.

                                              s/ Damon M. Cheronis
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